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June 27, 2019

By Electronic Filing

Hon. Edgardo Ramos
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re:      Tamita Brown, et al. v. Netflix, et al., 19-cv-1507-ER

Dear Judge Ramos:

        Pursuant to Rule 2.A.ii of Your Honor’s Individual Practices, we write on behalf of
defendants Amazon.com, Inc. (“Amazon”), Netflix, Inc. (“Netflix”), and Apple Inc. (“Apple”
collectively, “Defendants”) to request a pre-motion conference regarding Defendants’
contemplated Rule 12(b)(6) motion to dismiss (for defendants Netflix and Apple) and Rule
12(c) motion for judgment on the pleadings (for defendant Amazon, which answered the
complaint on April 22, 2019). The basis for both motions is that the doctrine of fair use
provides a complete defense to Plaintiffs’ copyright claims.

                                     Factual Background

        This case concerns allegations of copyright infringement arising from a five-second
scene in a feature-length documentary film entitled “Burlesque: Heart of the Glitter Tribe”
(the “Film”), which each of the Defendants has distributed. The Film follows the on-stage and
off-stage activities of a group of neo-burlesque dancers based in Portland, Oregon. Generally,
the Film consists of footage of the individual dancers’ on-stage acts, interspersed with footage
of off-stage interviews, rehearsals, and scenes from their everyday lives. If the Court would
like us to submit copies of the Film or Song at this time, we will be happy to do so.

        Plaintiffs allege that they are the owners of the copyright in the song “Fish Sticks and
Tater Tots” (the “Song”). Their allegations of infringement center on a single scene in the
Film that depicts a brief portion of one dancer’s act as it was actually performed at a nightclub.
In this portion of her act, the dancer appears on stage as a “reverse mermaid” (i.e., a creature
with human legs and a fish head), but then disappears behind a piece of scenery depicting a
large pot labeled “hot oil”. When she again emerges into view of the audience a few seconds
later, her legs have been transformed by costume into “fish sticks.” At this point, for



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approximately 5 seconds, she dances to a snippet from the Song—specifically, a few bars in
which the lyric “fish sticks and tater tots” is repeated six times. Thereafter, music from a
different song begins and the dancer continues her routine to that other music.

        Plaintiffs allege in their Complaint only that “the Film contains an unauthorized
performance of Plaintiffs’ Song during a scene in which a woman dances to the Song while
removing her clothing” and that “the Song is prominently featured in the referenced scene.”
Compl. ¶¶ 20-21. It is apparent that the claim for infringement is based entirely on the use in
the Film of the 5-second excerpt from the Song described above.
                                    Legal Basis for Motion

        Courts in this Circuit recognize that copyright infringement claims may be dismissed
at the pleading stage based on a finding of fair use. See, e.g., TCA Television Corp. v.
McCollum, 839 F.3d 168, 178 (2d Cir. 2016) (“this court has acknowledged the possibility of
fair use being so clearly established by a complaint as to support dismissal of a copyright
infringement claim”). This is precisely the type of case that is ripe for dismissal pursuant to
Rule 12. The Complaint, together with the evidence attached thereto as exhibits or
incorporated by reference (including the Film and the Song), e.g. McDonald v. West, 138 F.
Supp. 3d 448, 453 (S.D.N.Y. 2015), is all that is needed to decide the question of fair use.

        In evaluating fair use, the Copyright Act specifies four non-exclusive factors that must
be considered: (1) the purpose and character of the use; (2) the nature of the copyrighted work;
(3) the amount and substantiality of the portion used; and (4) the effect of the use on the market
for the original. 17 U.S.C. § 107. This is “an open-ended and context-sensitive inquiry.”
Cariou v. Prince, 714 F.3d 694, 705 (2d Cir. 2013) (citations omitted).

    1. The Purpose and Character of the Use
        The “purpose and character” inquiry is “[t]he heart of the fair use inquiry.” Cariou,
714 F.3d at 705. And the most important element of that inquiry is whether the allegedly
infringing use was “transformative.” See Bill Graham Archives v. Dorling Kindersely Ltd.,
448 F.3d 605, 608 (2d Cir. 2006) (“Most important to the court’s analysis of the first factor is
the ‘transformative’ nature of the work.”). “[T]he more transformative the new work, the less
will be the significance of other factors.” Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569,
579 (1994) (citation omitted). Whether a work is transformative depends on “whether the new
work merely ‘supersedes the objects’ of the original creation, or instead . . . alter[s] the first
with new expression, meaning, or message[.]” Cariou, 714 F.3d at 705.

        Here, there is little question that the use of the Song in the allegedly infringing work is
highly transformative. The Film is a documentary about the lives and stage acts of a group of
burlesque dancers. It is intended to educate and inform its audience about this decidedly non-
mainstream art form, and the backgrounds and motivations of the people who choose to engage
in it. This constitutes a completely new “expression, meaning, or message” from that of the
Song, which relates a humorous tale about a student’s adventures on the way from the
classroom to the cafeteria. Indeed, the Song’s appearance in the Film is completely
incidental—it is merely background music to a small piece of one dancer’s actual performance




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as recounted in the Film.1 In similar circumstances, courts have concluded that such use was
transformative and protected by fair use. See, e.g., Red Label Music Publ’g, Inc. v. Chila
Prods., 2019 U.S. Dist. LEXIS 90159, at *29 (N.D. Ill. May 30, 2019); Italian Book Corp., v.
American Broadcasting Co., 458 F. Supp. 65 (S.D.N.Y. 1978). Such is the case here as well.

    2. The Nature of the Original Work
         The inquiry into the nature of the original work is two-fold: it asks “(1) whether the
work is expressive or creative, such as a work of fiction, or more factual, with a greater leeway
being allowed to a claim of fair use where the work is factual or informational, and (2) whether
the work is published or unpublished, with the scope for fair use involving unpublished works
being considerably narrower.” Blanch v. Koons, 467 F.3d 244, 256 (2d Cir. 2006).
Defendants acknowledge that the Song is creative for the purposes of the first prong, which
counsels less leeway for fair use. By the same token, however, it is also a published work,
which cuts in the other direction. And in any event, courts in this Circuit have often noted that
“the second factor may be of limited usefulness where the creative work of art is being used
for a transformative purpose.” Blanch, 467 F.3d at 257.

    3. The Amount and Substantiality of Portion Used
        With respect to the third factor, “[t]he clear implication of this inquiry is that a finding
of fair use is more likely when small amounts, or less important passages, are copied than
when the copying is more extensive, or encompasses the most important parts of the original.”
Estate of Smith v. Cash Money Records, 253 F. Supp. 3d 737, 751 (S.D.N.Y. 2017). Thus, the
operative test is “whether the quantity and value of the materials used[] are reasonable in
relation to the purpose of the copying.” Blanch, 467 F.3d at 257. Here, the Film contains only
approximately 5 seconds of the 215-second Song (or 2.3% of the original). Moreover, the
portion used is clearly reasonable in relation to its transformative purpose in the Film. It was
not the filmmaker who selected the Song for inclusion in the Film—it simply happened be
used by the dancer whose performance was recorded. It follows naturally that the use of the
Song was reasonable in relation to the Film’s goal of portraying this particular burlesque act.

    4. The Effect of the Use Upon the Potential Market
        This factor asks the court to consider “not whether the secondary use suppresses or
even destroys the market for the original work or its potential derivatives, but whether the
secondary use usurps the market of the original work.” Cariou, 714 F.3d at 708. Here, there
simply can be no argument that the allegedly infringing use “usurps” the market for the
original. As Plaintiffs concede, the two are aimed at entirely different markets. Compare
Compl. ¶ 17 (alleging the Song’s intended audience was children) with ¶ 18 (describing Film
as “centered on strippers in Oregon.”)

       In light of the foregoing, Defendants respectfully request that the Court schedule a pre-
motion conference to address the proposed motions.



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           This fact illustrates that the use of the Song is actually transformative on two distinct levels—both in
how it is portrayed in the Film and, underlying that, in how it is employed in the burlesque act.



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Respectfully,
s/ Jay Ward Brown

Jay Ward Brown
Joseph Slaughter

JS/mm




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